                  Case 1:17-cr-00722-VSB Document 366
                                                  365 Filed 01/11/21
                                                             01/08/21 Page 1 of 1
                                                   U.S. Department of Justice
         [Type text]
                                                               United States Attorney
                                                               Southern District of New York

                                                               The Silvio J. Mollo Building
                                                               One Saint Andrew’s Plaza
                                                               New York, New York 10007


                                                                   January 8, 2021

         By ECF
         The Honorable Vernon S. Broderick
         United States District Judge
         Southern District of New York
         United State Courthouse
         40 Foley Square, Courtroom 518
         New York, New York 10007

                  Re:       United States v. Sayfullo Habibullaevic Saipov, S1 17 Cr. 722 (VSB)

         Dear Judge Broderick:

                 The parties write pursuant to the Court’s Order of November 24, 2020, directing the parties
         to submit an update letter by January 8, 2021 concerning a trial date. Given the continued impact
         of COVID-19 on, among other things, the Court’s operations and travel, as well as the additional
         considerations necessary to schedule this trial, the parties respectfully request an adjournment until
         March 9, 2021 to provide an update to the Court. Further, in light of the COVID-19 pandemic and
         given the defendant’s ongoing preparations for trial, the parties agree that the Court should exclude
         time in the interests of justice under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A)
         through March 9, 2021.

I am in receipt of the parties' update of January 8, 2021.
                                                                   Respectfully submitted,
(Doc. 365.) The parties are directed file a further update
on or before March 9, 2021. The parties' request that I
                                                                   AUDREY STRAUSS
exclude time in the interests of justice under the Speedy
                                                                   Acting United States Attorney
Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) is
Granted through March 9, 2021. Such a continuance is
necessary to, among other things, allow the parties to       By:          /s/
continue to prepare for trial, and I find that the ends of         Amanda Houle
justice served by granting the continuance outweigh the            Sidhardha Kamaraju
interest of the public and Defendant Saipov in a speedy            Matthew Laroche
trial.                                                             Jason A. Richman
                                                                   Assistant United States Attorneys
                                                                   (212) 637-2194/6523/2420/2589

         cc:      Defense counsel (by ECF)
